  1   Christopher C. Simpson, 018626
      OSBORN MALEDON, P.A.
  2   2929 North Central Avenue
      21st Floor
  3   Phoenix, Arizona 85012-2793
      (602) 640-9000
  4   E-mail:      csimpson@omlaw.com
  5
      Subchapter V Trustee
  6
  7                  IN THE UNITED STATES BANKRUPTCY COURT
  8                             FOR THE DISTRICT OF ARIZONA
  9
        In re:                                       In Proceedings under Chapter 11
 10
        SUMMIT FAMILY RESTUARANTS,                   Case No. 2:21-bk-02477-BKM
 11     INC.,
 12                                                  NOTICE OF APPEARANCE AND
                                     Debtor.         REQUEST FOR SERVICE
 13
 14          Christopher C. Simpson, as Subchapter V Trustee, hereby gives notice of his
 15   appearance. The Subchapter V Trustee requests that notices of all proceedings and
 16   copies of all pleadings in the above-entitled Chapter 11 proceedings be served upon
 17   the trustee as follows:
 18                                   Christopher C. Simpson
                                       Osborn Maledon, PA
 19                             2929 North Central Avenue, 21st Floor
 20                                   Phoenix, Arizona 85012
                                   E-mail: csimpson@omlaw.com
 21
 22          DATED this 16th day of April, 2021.
 23                                             OSBORN MALEDON, P.A.
 24                                             By    /s/ Christopher C. Simpson
 25                                                   Christopher C. Simpson
                                                      2929 North Central Avenue
 26                                                   21st Floor
                                                      Phoenix, Arizona 85012-2793
 27                                                   Subchapter V Trustee

 28

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  1   COPY of the foregoing sent via electronic
  2   mail this 16th day of April, 2021.

  3    Wesley D. Ray                                  Patty Chan
       Philip R. Rudd                                 United States Trustee
  4    Sierra M. Minder                               District of Arizona
  5    Sacks Tierney P.A.                             230 N First Ave Ste 204
       4250 N Drinkwater Blvd 4th Flr                 Phoenix AZ 85003-1706
  6    Scottsdale AZ 85251-3693                       Patty.chan@usdoj.gov
  7    Wesley.ray@sackstierney.com                    U.S. Trustee
       Philip.rudd@sackstierney.com
  8    Sierra.minder@sackstierney.com
       Attorneys for Debtor
  9
 10
 11   /s/ Peggy Nieto
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